          Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 1 of 48




February 11, 2021

Via Electronic Mail

Steve Skarnulis                                    Amy L. Ruhland
Clinton A. Rosenthal                               DLA PIPER LLP (US)
Benjamin D. Evans                                  401 Congress Avenue, Suite 2500
CAIN & SKARNULIS PLLC                              Austin, Texas 78701-3799
400 W. 15th Street, Suite 900                      Amy.Ruhland@us.dlapiper.com
Austin, Texas 78701
skarnulis@cstrial.com
crosenthal@cstrial.com
bevans@cstrial.com


Re:       Civil Action No. 1:19-cv-00767-RP: BalanceCXI, Inc. d/b/a Zacoustic v. International
          Consulting & Research Group, LLC, Christopher DeSimone and Adam Oldfield, in the
          United States District Court for the Western District of Texas, Austin Division.

Dear Counsel:

Pursuant to Judge Pitman’s Amended Order (Dkt. 111), and without waiving any applicable
attorney-client privilege or work product, please find enclosed invoices related to attorneys’ fees
and costs incurred in filing and arguing the Motion to Compel (Dkt. 12) and Motion for Sanctions
(Dkt. 66). Any time entry for which BalanceCXI does not seek reimbursement in connection with
those motions has been redacted.

The breakdown of attorneys’ fees and costs is as follows:

      •   Motion to Compel: $115,995.00
      •   Motion for Sanctions: $190,418.00
      •   Forensic Related Attorney Work: $7,789.00
      •   Forensic Costs: $23,810.00

Pursuant to Local Court Rule CV-7(j), please let us know: (1) if Defendants DeSimone and
Oldfield agree to pay the above-stated fees and costs; or (2) if not, then the specific reason(s) for
why Defendants do not agree.

We are available to confer at your convenience ahead of BalanceCXI’s February 17, 2021 deadline
to file its application for attorneys’ fees and costs.

                                                                                     Haynes and Boone, LLP
                                                                                  Attorneys and Counselors
                                                                                      600 Congress Avenue
                                                                                                   Suite 1300
                                                                                         Austin, Texas 78701
                                                                                            T (512) 867-8400
                                                                                            F (512) 867-8470
                                              Exhibit B.5                          www.haynesboone.com
          Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 2 of 48



                                                                       February 11, 2021
                                                                              Page |2

Please do not hesitate to contact me to address any of these issues.

Sincerely,




Adam Sencenbaugh
Partner

Direct Phone: 512.867.8489
adam.sencenbaugh@haynesboone.com


4849-9465-9292




                                           Exhibit B.5
                  Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 3 of 48




                                                                                          Invoice Number: 21409688
                                                                                   Invoice Date: December 27, 2019
                                                                    Matter Name: BalanceCXI, Inc. v. ICAR LLC et al
                                                                              Client/Matter Number: 0058532.00004
                                                                             Billing Attorney: Adam H Sencenbaugh




 BalanceCXI, Inc.
         REDACTED




                 _________________________________________________________________________________
                                                 REMITTANCE PAGE
                                   For Professional Services Through November 30, 2019
                                                                                                    REDACTED
Total Fees

Total Expenses

Total Fees, Expenses and Charges

Total Invoice Balance Due

                                                     REDACTED




             CONFIDENTIAL                          Exhibit B.5                      BZAC-00002979
    Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 4 of 48




CONFIDENTIAL                   Exhibit B.5              BZAC-00002980
    Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 5 of 48




CONFIDENTIAL                   Exhibit B.5              BZAC-00002981
                  Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 6 of 48




                                                                                          Invoice Number: 21416367
                                                                                    Invoice Date: February 14, 2020
                                                                    Matter Name: BalanceCXI, Inc. v. ICAR LLC et al
                                                                              Client/Matter Number: 0058532.00004
                                                                             Billing Attorney: Adam H Sencenbaugh




 BalanceCXI, Inc.
         REDACTED




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                                                 REMITTANCE PAGE
                                   For Professional Services Through December 31, 2019
                                                                                                    REDACTED
Total Fees

Total Expenses

Total Fees, Expenses and Charges

Total Invoice Balance Due

                                                    REDACTED




             CONFIDENTIAL                          Exhibit B.5                      BZAC-00002982
    Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 7 of 48




CONFIDENTIAL                   Exhibit B.5              BZAC-00002983
    Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 8 of 48




CONFIDENTIAL                   Exhibit B.5              BZAC-00002984
    Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 9 of 48




CONFIDENTIAL                   Exhibit B.5              BZAC-00002985
    Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 10 of 48




CONFIDENTIAL                   Exhibit B.5               BZAC-00002986
    Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 11 of 48




CONFIDENTIAL                   Exhibit B.5               BZAC-00002987
                 Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 12 of 48




                                                                                          Invoice Number: 21425635
                                                                                        Invoice Date: April 17, 2020
                                                                    Matter Name: BalanceCXI, Inc. v. ICAR LLC et al
                                                                              Client/Matter Number: 0058532.00004
                                                                             Billing Attorney: Adam H Sencenbaugh




 BalanceCXI, Inc.
         REDACTED




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                                                   REMITTANCE PAGE
                                     For Professional Services Through January 31, 2020
                                                                                                 REDACTED
Total Fees

Total Expenses

Total Fees, Expenses and Charges

Total Invoice Balance Due

                                                     REDACTED




        CONFIDENTIAL                             Exhibit B.5                      BZAC-00002988
    Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 13 of 48




CONFIDENTIAL                   Exhibit B.5               BZAC-00002989
    Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 14 of 48




CONFIDENTIAL                   Exhibit B.5               BZAC-00002990
    Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 15 of 48




CONFIDENTIAL                   Exhibit B.5               BZAC-00002991
    Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 16 of 48




CONFIDENTIAL                   Exhibit B.5               BZAC-00002992
                 Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 17 of 48




                                                                                          Invoice Number: 21424660
                                                                                        Invoice Date: April 13, 2020
                                                                    Matter Name: BalanceCXI, Inc. v. ICAR LLC et al
                                                                              Client/Matter Number: 0058532.00004
                                                                             Billing Attorney: Adam H Sencenbaugh




 BalanceCXI, Inc.
         REDACTED




                  _________________________________________________________________________________
                                                  REMITTANCE PAGE
                                    For Professional Services Through February 29, 2020
                                                                                                 REDACTED
Total Fees

Total Expenses

Total Fees, Expenses and Charges

Total Invoice Balance Due

                                                     REDACTED




        CONFIDENTIAL                             Exhibit B.5                      BZAC-00002993
                Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 18 of 48




Invoice Number: 21424660                                                                                             April 13, 2020
Matter Name: BalanceCXI, Inc. v. ICAR LLC et al                                                                        Page 2 of 7
Client/Matter Number: 0058532.00004
Billing Attorney: Adam H Sencenbaugh


For Professional Services Through February 29, 2020


                                                          Professional Fees

Date      Timekeeper              Description                                                                    Hours      Amount

       REDACTED



       REDACTED


02/03/20 Henson Adams             Draft Plaintiff's Reply to Defendants' Amended Response to Motion to            8.70     $4,306.50
                                  Compel; review and analyze Amended Response to Motion to Compel
                                  with respect to the same; research federal law regarding issues relevant to
                                  Motion to Compel.

02/03/20 Adam H Sencenbaugh       Telephone conference with opposing counsel regarding outstanding                1.50     $1,087.50
                                  discovery due from Defendants and Motion to Compel; email
                                  correspondence with client representatives regarding case status and
                                  Motion to Compel.

       REDACTED



02/04/20 Henson Adams             Draft and revise Plaintiff's Reply to Defendants' Amended Response to           7.40     $3,663.00
                                  Motion to Compel; draft and revise Appendix in support of the same.

02/04/20 Adam H Sencenbaugh       Outline issues and revise arguments relevant to Reply to Amended                1.90     $1,377.50
                                  Response to Motion to Compel.

02/05/20 Henson Adams             Continue to draft and revise Reply to Defendants' Amended Response to           3.60     $1,782.00
                                  Motion to Compel; draft motion for leave to exceed page limits with
                                  respect to the same; continue to draft and revise appendix in support of the
                                  Reply in support of Motion to Compel.

       REDACTED




02/05/20 Chrissy Long             Review and analyze Federal Rule of Civil Procedure 37(e) regarding              3.00     $1,485.00
                                  spoliation of electronically stored information, 2015 amendments, and case
                                  law interpreting same, and compile findings into spoliation memo.




        CONFIDENTIAL                                      Exhibit B.5                             BZAC-00002994
                 Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 19 of 48




Invoice Number: 21424660                                                                                          April 13, 2020
Matter Name: BalanceCXI, Inc. v. ICAR LLC et al                                                                     Page 3 of 7
Client/Matter Number: 0058532.00004
Billing Attorney: Adam H Sencenbaugh

Date      Timekeeper             Description                                                                  Hours      Amount

         REDACTED



       REDACTED

02/06/20 Henson Adams            Review, revise, and finalize Reply to Defendants' Amended Response to         1.90      $940.50
                                 Motion to Compel, Motion for Leave to Exceed Page Limits, and proposed
                                 order regarding the same.

02/06/20 Chrissy Long            Review and analyze federal case law regarding duty of preservation and        3.30     $1,633.50
                                 the standard for reasonable steps at preservation and revise spoliation
                                 memo regarding same.

02/06/20 Adam H Sencenbaugh      Revise Reply to Amended Response to Motion to Compel, including               4.50     $3,262.50
                                 exhibits and argument in support of Reply to Amended Response to
                                 Motion to Compel.

02/07/20 Chrissy Long            Review and analyze federal case law regarding culpability standards for       1.80      $891.00
                                 spoliation and corresponding sanctions, and revise spoliation memo
                                 regarding same.[REDUCED BY 3.0HOURS]

02/10/20 Chrissy Long            Review and analyze relevant law regarding a plaintiff's spoliation and        1.80      $891.00
                                 revise spoliation memo regarding same.

         REDACTED


       REDACTED



02/11/20 Henson Adams            Telephone call with witness regarding forensic analysis of electronic         1.00      $495.00
                                 devices.

02/11/20 Chrissy Long            Review and analyze case law regarding culpability standards for spoliation    5.30     $2,623.50
                                 and available remedies, and revise spoliation memo regarding same.

02/11/20 Adam H Sencenbaugh      Analyze issues relevant to expert witness for use in case; telephone          2.30     $1,667.50
                                 conference with expert witness to discuss issues relevant to case.

02/14/20 Henson Adams            Review and analyze Defendants' Motion for Leave to File Surreply in           1.80      $891.00
                                 opposition to Motion to Compel and Defendants' Surreply to BalanceCXI
                                 Reply in opposition to Motion to Compel; discuss and strategize response.

02/14/20 Adam H Sencenbaugh      Telephone conference with client representatives regarding case status and    0.90      $652.50
                                 outstanding discovery issues relevant to Motion to Compel.




         CONFIDENTIAL                                    Exhibit B.5                             BZAC-00002995
                 Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 20 of 48




Invoice Number: 21424660                                                                                          April 13, 2020
Matter Name: BalanceCXI, Inc. v. ICAR LLC et al                                                                     Page 4 of 7
Client/Matter Number: 0058532.00004
Billing Attorney: Adam H Sencenbaugh

Date      Timekeeper             Description                                                                  Hours      Amount

02/15/20 Henson Adams            Draft and revise response to Defendants' Motion for Leave to File Surreply    3.60     $1,782.00
                                 in opposition to Motion to Compel; review and analyze case law cited in
                                 Defendants' Surreply in opposition to Motion to Compel; research federal
                                 law regarding electronic service issue relevant to Motion to Compel and
                                 Defendants' Surreply.

02/15/20 Adam H Sencenbaugh      Analyze Motion for Leave to File Surreply in opposition to Motion to          1.70     $1,232.50
                                 Compel filed by Defendants; continue draft of Plaintiff's Response to
                                 Motion for Leave to File Surreply in opposition to Motion to Compel.

02/17/20 Henson Adams            Revise Plaintiff's Response to Motion for Leave to File Surreply in           0.60      $297.00
                                 opposition to Motion to Compel.

02/18/20 Henson Adams            Revise and finalize Plaintiff's Response to Motion for Leave to File          0.60      $297.00
                                 Surreply in opposition to Motion to Compel.

       REDACTED

       REDACTED

       REDACTED

       REDACTED


02/20/20 Adam H Sencenbaugh      Analyze legal issues relevant to Reply in Support of Motion for Leave to      1.40     $1,015.00
                                 File Surreply in opposition to Motion to Compel; revise correspondence to
                                 opposing counsel regarding missing devices under discovery protocol and
                                 Motion to Compel.

02/21/20 Henson Adams            Draft and revise letter to opposing counsel regarding Defendants'             1.50      $742.50
                                 production of confidential information and additional devices identified
                                 relevant to Motion to Compel and device protocol.

       REDACTED


       REDACTED


       REDACTED




02/26/20 Henson Adams            Review Court order regarding hearing on Motion to Compel; discuss and         2.00      $990.00
                                 strategize the same; correspondence with opposing counsel regarding
                                 conferencing over Motion to Compel issues.




         CONFIDENTIAL                                    Exhibit B.5                             BZAC-00002996
                  Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 21 of 48




Invoice Number: 21424660                                                                                     April 13, 2020
Matter Name: BalanceCXI, Inc. v. ICAR LLC et al                                                                Page 5 of 7
Client/Matter Number: 0058532.00004
Billing Attorney: Adam H Sencenbaugh

Date         Timekeeper          Description                                                             Hours      Amount

    REDACTED



       REDACTED




         REDACTED


02/27/20 Adam H Sencenbaugh      Email correspondence with opposing counsel regarding discovery issues    0.90      $652.50
                                 relevant to Motion to Compel.

       REDACTED


       REDACTED


       REDACTED


       REDACTED


       REDACTED



       REDACTED


       REDACTED



Total Fees                                                                                                        REDACT
                                                                                                                    ED
                                                         REDACTED




         CONFIDENTIAL                                   Exhibit B.5                          BZAC-00002997
                Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 22 of 48



Invoice Number: 21424660                                                            April 13, 2020
Matter Name: BalanceCXI, Inc. v. ICAR LLC et al                                       Page 6 of 7
Client/Matter Number: 0058532.00004
Billing Attorney: Adam H Sencenbaugh

                   REDACTED




        CONFIDENTIAL                              Exhibit B.5        BZAC-00002998
                Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 23 of 48




Invoice Number: 21424660                                                            April 13, 2020
Matter Name: BalanceCXI, Inc. v. ICAR LLC et al                                       Page 7 of 7
Client/Matter Number: 0058532.00004
Billing Attorney: Adam H Sencenbaugh



          REDACTED




        CONFIDENTIAL                              Exhibit B.5        BZAC-00002999
                 Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 24 of 48




                                                                                           Invoice Number: 21424204
                                                                                         Invoice Date: April 10, 2020
                                                                     Matter Name: BalanceCXI, Inc. v. ICAR LLC et al
                                                                               Client/Matter Number: 0058532.00004
                                                                              Billing Attorney: Adam H Sencenbaugh




 BalanceCXI, Inc.
        REDACTED




                  _________________________________________________________________________________
                                                   REMITTANCE PAGE
                                      For Professional Services Through March 31, 2020

                                                                                                   REDACTED
Total Fees

Total Expenses

Total Fees, Expenses and Charges

Total Invoice Balance Due

                                                     REDACTED




        CONFIDENTIAL                              Exhibit B.5                      BZAC-00003000
    Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 25 of 48




CONFIDENTIAL                   Exhibit B.5               BZAC-00003001
    Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 26 of 48




CONFIDENTIAL                   Exhibit B.5               BZAC-00003002
    Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 27 of 48




CONFIDENTIAL                   Exhibit B.5               BZAC-00003003
    Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 28 of 48




CONFIDENTIAL                   Exhibit B.5               BZAC-00003004
                 Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 29 of 48




                                                                                          Invoice Number: 21428969
                                                                                         Invoice Date: May 14, 2020
                                                                    Matter Name: BalanceCXI, Inc. v. ICAR LLC et al
                                                                              Client/Matter Number: 0058532.00004
                                                                             Billing Attorney: Adam H Sencenbaugh




 BalanceCXI, Inc.
         REDACTED




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                                                 REMITTANCE PAGE
                                     For Professional Services Through April 30, 2020
                                                                                                  REDACTED
Total Fees

Total Expenses

Total Fees, Expenses and Charges

Total Invoice Balance Due

                                                    REDACTED




             CONFIDENTIAL                          Exhibit B.5                     BZAC-00003005
                 Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 30 of 48



Invoice Number: 21428969                                                                                             May 14, 2020
Matter Name: BalanceCXI, Inc. v. ICAR LLC et al                                                                       Page 2 of 6
Client/Matter Number: 0058532.00004
Billing Attorney: Adam H Sencenbaugh


For Professional Services Through April 30, 2020


                                                         Professional Fees

Date      Timekeeper              Description                                                                Hours        Amount

04/01/20 Henson Adams             Review and revise Reply in Support of Motion to Amend text order on         1.70         $841.50
                                  Motion to Compel and finalize the same for filing.

04/01/20 Adam H Sencenbaugh       Revise and file Reply in Support of Motion to Amend Text Order              1.20         $870.00
                                  regarding Motion to Compel.

       REDACTED



04/03/20 Henson Adams             Review and analyze Discovery Advisory filed by Defendants regarding         1.60         $792.00
                                  Motion to Compel; outline arguments for Initial Discovery Advisory
                                  regarding Motion to Compel on behalf of BalanceCXI.

04/03/20 Adam H Sencenbaugh       Analyze Discovery Advisory regarding Motion to Compel filed by              1.90       $1,377.50
                                  opposing party; revise and file response to Discovery Advisory regarding
                                  Motion to Compel filed by opposing party.

04/06/20 Henson Adams             Review Court's order granting BalanceCXI's Motion for an amended text       1.50         $742.50
                                  order on Motion to Compel and strategize next steps and upcoming tasks.

04/07/20 Henson Adams             Telephone call with new opposing counsel in case; discuss next steps        0.70       No Charge
                                  regarding case strategy. [NO CHARGE]

04/07/20 Henson Adams             Team phone call with co-counsel to discuss discovery strategy. [NO          0.70       No Charge
                                  CHARGE]

04/07/20 Iris Gibson              Analyze issues relevant to discovery and disclosure of source code.         0.50         $350.00

04/07/20 Adam H Sencenbaugh       Telephone conference with opposing counsel regarding case issues; begin     1.90       $1,377.50
                                  draft of Plaintiff's Advisory to Court regarding discovery compliance by
                                  Defendants on Motion to Compel.

       REDACTED



04/08/20 Henson Adams             Continue to review documents produced by Defendants.                        2.50       $1,237.50

    REDACTED


04/09/20 Henson Adams             Continue to review documents produced by Defendants.                        1.50         $742.50




        CONFIDENTIAL                                     Exhibit B.5                            BZAC-00003006
                 Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 31 of 48




Invoice Number: 21428969                                                                                                May 14, 2020
Matter Name: BalanceCXI, Inc. v. ICAR LLC et al                                                                          Page 3 of 6
Client/Matter Number: 0058532.00004
Billing Attorney: Adam H Sencenbaugh

Date      Timekeeper             Description                                                                    Hours        Amount

    REDACTED

04/09/20 Adam H Sencenbaugh      Continue draft of Plaintiff's Advisory to Court regarding Defendants'           3.60       $2,610.00
                                 compliance with Motion to Compel.

       REDACTED



04/10/20 Adam H Sencenbaugh      Analyze documents produced by Defendants in response to Motion to               3.30       $2,392.50
                                 Compel; continue draft of Plaintiff's Advisory to Court regarding
                                 Defendants' compliance with Court's order on Motion to Compel.

       REDACTED


04/13/20 Henson Adams            Review revised scheduling order; continue to review documents produced          3.70       $1,831.50
                                 by Defendants.

04/13/20 Adam H Sencenbaugh      Continue draft of Plaintiff's Advisory to Court regarding Defendants'           3.30       $2,392.50
                                 compliance with Court's order on Motion to Compel.

04/14/20 Henson Adams            Telephone conference with forensic examiner to discuss forensic findings        5.40       $2,673.00
                                 and review of discovery responses and Defendants' Discovery Advisory;
                                 continue to review documents and communications produced by
                                 Defendants in response to Motion to Compel. [REDUCED BY 3.0
                                 HOURS]

         REDACTED




04/15/20 Henson Adams            Review and analyze forensic issues and underlying documents relevant to         6.00       $2,970.00
                                 Motion to Compel; telephone conference with clients to discuss source
                                 code and other issues related to Plaintiff's Discovery Advisory on
                                 Defendants' compliance with Motion to Compel; discuss missing metadata
                                 issue with internal technical specialists and analysis of the same; continue
                                 to review documents for gathering and use as exhibits to Plaintiff's
                                 Advisory; telephone call with forensic examiner. [REDUCED BY 3.0
                                 HOURS]

       REDACTED




         CONFIDENTIAL                                    Exhibit B.5                             BZAC-00003007
                 Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 32 of 48




Invoice Number: 21428969                                                                                               May 14, 2020
Matter Name: BalanceCXI, Inc. v. ICAR LLC et al                                                                         Page 4 of 6
Client/Matter Number: 0058532.00004
Billing Attorney: Adam H Sencenbaugh

Date      Timekeeper             Description                                                                   Hours        Amount

04/15/20 Adam H Sencenbaugh      Telephone conference with client representatives regarding forensic issues     3.40       $2,465.00
                                 relevant to case; continue draft of Advisory to Court regarding Defendants'
                                 compliance with Court's Order on Motion to Compel.

04/16/20 Henson Adams            Continue to draft and revise Plaintiff's Discovery Advisory on Defendants'     6.00       $2,970.00
                                 compliance with Motion to Compel; draft and revise declaration of
                                 Timothy Barnes for use with Plaintiff's Advisory; telephone call with
                                 clients regarding the same; gather, review, and prepare exhibits to
                                 Plaintiff's Advisory; review Defendants' Advisory and discovery responses
                                 and continue to add content to Plaintiff's Advisory related to the same.

04/16/20 Adam H Sencenbaugh      Telephone conference with client representative regarding declaration in       2.90       $2,102.50
                                 support of Plaintiff's Advisory on Defendants' compliance with Court's
                                 order on Motion to Compel; revise declaration in support of Plaintiff's
                                 Advisory on Motion to Compel; continue draft of Plaintiff's Advisory on
                                 Defendants' compliance with the Court's order on Motion to Compel.

04/17/20 Henson Adams            Draft, revise, and finalize Plaintiff's Advisory regarding Defendants'         2.30       $1,138.50
                                 compliance with Court's order on Motion to Compel; gather and finalize
                                 exhibits related to the same; telephone call with forensic examiner to
                                 discuss forensic issues relevant to case; draft and revise Motion to Seal
                                 related to confidential exhibits attached to Plaintiff's Advisory and
                                 proposed order. [REDUCED BY 3.0 HOURS]

04/17/20 Adam H Sencenbaugh      Telephone conference with forensic expert regarding issues relevant to         3.80       $2,755.00
                                 missing devices ordered produced pursuant to Motion to Compel; revise
                                 and file Plaintiff's Advisory to Court regarding Defendants' compliance
                                 with Court's order on Motion to Compel.

04/20/20 Henson Adams            Review Court's order that BalanceCXI file a Motion for Sanctions for           2.60       $1,287.00
                                 Defendants' failure to comply with Court's order on Motion to Compel;
                                 analyze federal law regarding Rule 37(b) sanctions for failure to comply
                                 with a court's discovery order.

04/20/20 Adam H Sencenbaugh      Analyze Order from United States District Court regarding Plaintiff's          1.70       $1,232.50
                                 Advisory on Defendants' compliance with Court's order on Motion to
                                 Compel; outline issues relevant to Motion for Sanctions.

04/21/20 Henson Adams            Research federal law regarding Rule 37(b) sanctions.                           2.00         $990.00

04/21/20 Iris Gibson             Conference with co-counsel regarding Motion for Sanctions under Federal        6.40       $4,480.00
                                 Rule 37(b); outline arguments for Motion for Rule 37(b) Discovery
                                 Sanctions; research and provide summary of discovery sanctions available
                                 under Federal Rule 37(b).

04/21/20 Adam H Sencenbaugh      Analyze issues relevant to Motion for Discovery Sanctions against              2.80       $2,030.00
                                 Defendants; revise Motion for Discovery Sanctions against Defendants.




         CONFIDENTIAL                                    Exhibit B.5                             BZAC-00003008
                 Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 33 of 48



Invoice Number: 21428969                                                                                             May 14, 2020
Matter Name: BalanceCXI, Inc. v. ICAR LLC et al                                                                       Page 5 of 6
Client/Matter Number: 0058532.00004
Billing Attorney: Adam H Sencenbaugh

Date      Timekeeper             Description                                                                 Hours        Amount

04/22/20 Henson Adams            Telephone call with co-counsel to discuss the Motion for Rule 37(b)          5.20       $2,574.00
                                 Discovery Sanctions; research federal law related to Rule 37(b) discovery
                                 sanctions; telephone call with client regarding Motion for Rule 37(b)
                                 Discovery Sanctions; draft, revise, and finalize Motion for Rule 37(b)
                                 Discovery Sanctions. [REDUCED BY 4.0 HOURS]

04/22/20 Iris Gibson             Conference with co-counsel regarding Motion for Rule 37(b) Discovery         2.60       $1,820.00
                                 Sanctions; research standard for adverse instructions for spoliation as
                                 discovery sanction; revise draft of Motion for Rule 37(b) Discovery
                                 Sanctions. [REDUCED BY 1.5 HOURS]

04/22/20 Adam H Sencenbaugh      Revise and file Motion for Rule 37(b) Discovery Sanctions against            6.50       $4,712.50
                                 Defendants; email correspondence and telephone conference with client
                                 representatives regarding Motion for Rule 37(b) Discovery Sanctions.

       REDACTED




04/23/20 Adam H Sencenbaugh      Email correspondence and telephone conference with opposing party            1.30         $942.50
                                 regarding issues relevant to Motion for Rule 37(b) Discovery Sanctions.

       REDACTED




04/24/20 Adam H Sencenbaugh      Analyze issues relevant to Motion for Rule 37(b) Discovery Sanctions         1.90       $1,377.50
                                 reply brief; email correspondence with opposing party regarding discovery
                                 offer and response to Motion for Rule 37(b) Discovey Sanctions.

04/25/20 Henson Adams            Review documents produced by Defendants for missing metadata; discuss        1.30         $643.50
                                 the same and correspondence with opposing counsel regarding missing
                                 metadata.

       REDACTED




04/27/20 Adam H Sencenbaugh      Analyze documents for production in case; email correspondence with          2.30       $1,667.50
                                 opposing party regarding Motion for Rule 37(b) Discovery Sanctions and
                                 issues relevant to Motion to Compel.

04/28/20 Henson Adams            Telephone call with co-counsel to discuss response to opposing counsel's     0.30       No Charge
                                 correspondence. [NO CHARGE]




         CONFIDENTIAL                                    Exhibit B.5                           BZAC-00003009
                  Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 34 of 48




Invoice Number: 21428969                                                                                               May 14, 2020
Matter Name: BalanceCXI, Inc. v. ICAR LLC et al                                                                         Page 6 of 6
Client/Matter Number: 0058532.00004
Billing Attorney: Adam H Sencenbaugh

Date         Timekeeper          Description                                                                   Hours        Amount

04/29/20 Henson Adams            Review and analyze Defendants' Response to BalanceCXI Motion for Rule          3.40       $1,683.00
                                 37(b) Sanctions and exhibits to the same; review case law related to issues
                                 raised in Response.

04/29/20 Iris Gibson             Review Response to Motion for Sanctions and attachments thereto; begin         0.80       No Charge
                                 outline of arguments for Reply. [NO CHARGE]

04/29/20 Adam H Sencenbaugh      Analyze Response in Opposition to Motion for Sanctions under Rule              3.80       $2,755.00
                                 37(b); begin draft of Reply in Support of Motion for Rule 37(b) Discovery
                                 Sanctions.

04/30/20 Henson Adams            Review draft discovery requests; telephone call with clients to discuss the    3.80       $1,881.00
                                 same and the reply to Defendants' Response to BalanceCXI's Motion for
                                 Rule 37(b) Discovery Sanctions; review Defendants' Response and outline
                                 arguments for reply in support of BalanceCXI's Motion for Rule 37(b)
                                 Discovery Sanctions. [REDUCED BY 3.5 HOURS]

04/30/20 Adam H Sencenbaugh      Telephone conference with client representatives regarding Motion for          2.60       $1,885.00
                                 Rule 37(b) Discovery Sanctions; continue revisions to Reply in Support of
                                 Motion for Rule 37(b) Discovery Sanctions.


Total Fees                                                                                                                REDACT
                                                                                                                            ED
                                                           REDACTED




         CONFIDENTIAL                                    Exhibit B.5                            BZAC-00003010
                 Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 35 of 48




                                                                                          Invoice Number: 21435038
                                                                                         Invoice Date: June 29, 2020
                                                                    Matter Name: BalanceCXI, Inc. v. ICAR LLC et al
                                                                              Client/Matter Number: 0058532.00004
                                                                             Billing Attorney: Adam H Sencenbaugh




 BalanceCXI, Inc.
        REDACTED




                 _________________________________________________________________________________
                                                 REMITTANCE PAGE
                                     For Professional Services Through May 31, 2020
                                                                                                    REDACTED
Total Fees

Total Expenses

Total Fees, Expenses and Charges

Total Invoice Balance Due
                                                    REDACTED




             CONFIDENTIAL                         Exhibit B.5                      BZAC-00003011
    Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 36 of 48




CONFIDENTIAL                   Exhibit B.5               BZAC-00003012
    Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 37 of 48




CONFIDENTIAL                   Exhibit B.5               BZAC-00003013
    Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 38 of 48




CONFIDENTIAL                   Exhibit B.5               BZAC-00003014
    Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 39 of 48




CONFIDENTIAL                   Exhibit B.5               BZAC-00003015
    Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 40 of 48




CONFIDENTIAL                   Exhibit B.5               BZAC-00003016
    Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 41 of 48




CONFIDENTIAL                   Exhibit B.5               BZAC-00003017
                 Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 42 of 48




                                                                                          Invoice Number: 21437738
                                                                                         Invoice Date: July 16, 2020
                                                                    Matter Name: BalanceCXI, Inc. v. ICAR LLC et al
                                                                              Client/Matter Number: 0058532.00004
                                                                             Billing Attorney: Adam H Sencenbaugh




 BalanceCXI, Inc.
        REDACTED




                 _________________________________________________________________________________
                                                 REMITTANCE PAGE
                                     For Professional Services Through June 30, 2020

                                                                                                   REDACTED
Total Fees

Total Expenses

Total Fees, Expenses and Charges

Total Invoice Balance Due
                                                    REDACTED




         CONFIDENTIAL                             Exhibit B.5                      BZAC-00003018
                Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 43 of 48




Invoice Number: 21437738                                                                                                 July 16, 2020
Matter Name: BalanceCXI, Inc. v. ICAR LLC et al                                                                            Page 2 of 7
Client/Matter Number: 0058532.00004
Billing Attorney: Adam H Sencenbaugh


For Professional Services Through June 30, 2020


                                                          Professional Fees

Date      Timekeeper              Description                                                                    Hours         Amount

05/31/20 Adam H Sencenbaugh       Prepare for deposition of Defendant Chris DeSimone, including                   4.80        $3,480.00
                                  preparation of outline and deposition exhibits; prepare materials for
                                  hearing on Motion for Discovery Sanctions for Defendants' failure to
                                  follow ruling on Motion to Compel.

06/01/20 Henson Adams             Prepare for and attend the deposition of Defendant Christopher DeSimone;        5.30        $2,623.50
                                  continue to prepare for hearing on Motion for Discovery Sanctions for
                                  Defendants' failure to follow ruling on Motion to Compel, including
                                  gathering and designating exhibits and creating demonstratives; prepare
                                  direct examination of Plaintiff expert witness Roy Rector. [REDUCED BY
                                  9.0 HOURS]

06/01/20 Iris Gibson              Continue preparing exhibits and deposition designations for cross               6.30        $4,410.00
                                  examination of Defendant Adam Oldfield; review and revise Defendant
                                  Adam Oldfield cross examination; prepare talking points for hearing
                                  relating to Motion for Discovery Sanctions for Defendants' failure to
                                  follow ruling on Motion to Compel; review and incorporate arguments
                                  relating to death penalty sanctions under Rule 37 (b)(2) and (e).
                                  [REDUCED BY 2.0 HOURS]

         REDACTED



06/02/20 Henson Adams             Continue to prepare for hearing on Motion for Discovery Sanctions for          12.50        $6,187.50
                                  Defendants' failure to follow ruling on Motion to Compel; witness
                                  preparation session with expert witness Roy Rector; review and analyze
                                  depositions of Defendant Adam Oldfield and Defendant Chris DeSimone
                                  and video clips of Defendant Adam Oldfield's deposition; review and
                                  prepare direct examination of expert witness; review legal issues related to
                                  hearing; prepare PowerPoint demonstrative for hearing. [REDUCED BY
                                  5.0 HOURS]

06/02/20 Michael Brockwell        Create video deposition database for hearing; create excerpts of video          5.50        $1,925.00
                                  depositions to include in Motion for Discovery Sanctions for Defendants'
                                  failure to follow ruling on Motion to Compel; graphic design of
                                  presentation.




        CONFIDENTIAL                                      Exhibit B.5                             BZAC-00003019
                 Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 44 of 48




Invoice Number: 21437738                                                                                                 July 16, 2020
Matter Name: BalanceCXI, Inc. v. ICAR LLC et al                                                                            Page 3 of 7
Client/Matter Number: 0058532.00004
Billing Attorney: Adam H Sencenbaugh

Date      Timekeeper             Description                                                                     Hours         Amount

06/02/20 Iris Gibson             Prepare presentation slides for legal arguments in Motion for Discovery          8.40        $5,880.00
                                 Sanctions for Defendants' failure to follow ruling on Motion to Compel;
                                 prepare talking points for hearing on Motion for Discovery Sanctions for
                                 Defendants' failure to follow ruling on Motion to Compel relating to legal
                                 arguments and the admissibility of current employees statements obtained
                                 in breach of the no-contact ethical rules; review and edit DeSimone cross
                                 examination deposition excerpts; research and draft arguments regarding
                                 the application of the Federal Rules of Evidence to sanctions hearings;
                                 review and prepare legal arguments for spoliation sanctions under Rule
                                 37(e). [REDUCED BY 4.0 HOURS].

06/02/20 Chrissy Long            Draft talking points for evidentiary hearing regarding Defendants' failure to    0.90       No Charge
                                 comply with Federal Rule of Civil Procedure 31 in obtaining Stephen
                                 Reed's and Trevor Barton's declarations. [NO CHARGE]

06/02/20 Adam H Sencenbaugh      Analyze legal issues relevant to hearing on Motion for Discovery                11.20        $8,120.00
                                 Sanctions for Defendants' failure to follow ruling on Motion to Compel;
                                 prepare exhibits and opening statement for use in Motion for Discovery
                                 Sanctions for Defendants' failure to follow ruling on Motion to Compel;
                                 revise cross examination outlines for use in Motion for Discovery
                                 Sanctions for Defendants' failure to follow ruling on Motion to Compel.

06/03/20 Henson Adams            Prepare for and attend evidentiary hearing on BalanceCXI's Motion for           10.30        $5,098.50
                                 Discovery Sanctions for Defendants' failure to follow ruling on Motion to
                                 Compel; telephone calls with client related to the same. [REDUCED BY
                                 3.0 HOURS]

06/03/20 Iris Gibson             Prepare talking points for waiver of attorney-client privilege; research and     1.20         $840.00
                                 summarize relevant privilege issues.

06/03/20 Adam H Sencenbaugh      Prepare for and participate in hearing on Motion for Discovery Sanctions        11.80        $8,555.00
                                 for Defendants' failure to follow ruling on Motion to Compel.

06/04/20 Henson Adams            Continue to prepare for and attend second day of evidentiary hearing on         11.00        $5,445.00
                                 BalanceCXI's Motion for Discovery Sanctions for Defendants' failure to
                                 follow ruling on Motion to Compel; telephone calls with client related to
                                 the same.

06/04/20 Adam H Sencenbaugh      Prepare for and participate in hearing on Motion for Discovery Sanctions        10.70        $7,757.50
                                 for Defendants' failure to follow ruling on Motion to Compel.

       REDACTED




         CONFIDENTIAL                                    Exhibit B.5                              BZAC-00003020
                 Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 45 of 48




Invoice Number: 21437738                                                               July 16, 2020
Matter Name: BalanceCXI, Inc. v. ICAR LLC et al                                          Page 4 of 7
Client/Matter Number: 0058532.00004
Billing Attorney: Adam H Sencenbaugh

Date      Timekeeper             Description                                   Hours         Amount

         REDACTED




         CONFIDENTIAL                             Exhibit B.5         BZAC-00003021
                 Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 46 of 48



Invoice Number: 21437738                                                               July 16, 2020
Matter Name: BalanceCXI, Inc. v. ICAR LLC et al                                          Page 5 of 7
Client/Matter Number: 0058532.00004
Billing Attorney: Adam H Sencenbaugh

Date      Timekeeper             Description                                   Hours         Amount

       REDACTED




         CONFIDENTIAL                             Exhibit B.5         BZAC-00003022
                  Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 47 of 48




Invoice Number: 21437738                                                                July 16, 2020
Matter Name: BalanceCXI, Inc. v. ICAR LLC et al                                           Page 6 of 7
Client/Matter Number: 0058532.00004
Billing Attorney: Adam H Sencenbaugh

Date         Timekeeper          Description                                    Hours         Amount

       REDACTED




Total Fees                                                                                REDACTE
                                                                                             D
                                                   REDACTED




         CONFIDENTIAL                             Exhibit B.5          BZAC-00003023
                Case 1:19-cv-00767-RP Document 112-7 Filed 02/17/21 Page 48 of 48




Invoice Number: 21437738                                                            July 16, 2020
Matter Name: BalanceCXI, Inc. v. ICAR LLC et al                                       Page 7 of 7
Client/Matter Number: 0058532.00004
Billing Attorney: Adam H Sencenbaugh

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        CONFIDENTIAL                              Exhibit B.5        BZAC-00003024
